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 6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8

 9                                                             CASE NO.: 2:23-cv-01495-JHC

10                                                             STIPULATED MOTION AND
      FEDERAL TRADE COMMISSION, et al.,
                                                               ORDER TO TEMPORARILY
11                                                             SEAL EXHIBIT B TO
                       Plaintiffs,
                                                               PLAINTIFFS’ MOTION TO
12                                                             COMPEL PRODUCTION OF
                  v.
                                                               DOCUMENTS RELATED TO
13                                                             SPOLIATION
      AMAZON.COM, INC., a corporation,
14
                       Defendant.
                                                               NOTE ON MOTION CALENDAR:
15                                                             May 23, 2024

16

17
            The parties, by and through their attorneys of record, respectfully request that the Court
18
     enter the proposed order set forth below regarding Exhibit B to Plaintiffs’ Motion to Compel
19
     Production of Documents Related to Spoliation.
20
            In support of this request, the parties represent the following to the Court:
21
            1.     On April 25, 2024, Plaintiffs filed a Motion to Compel Production of Documents
22
                   Related to Spoliation (Dkt. #198).
23

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           2.    Exhibit B to that Motion is a log of Signal screenshots for certain Amazon
 2
                 executives who were custodians in Plaintiffs’ pre-Complaint investigation (Dkt.
 3
                 #201).
 4
           3.    At Amazon’s request, Plaintiffs filed Exhibit B under seal, see Bolles Decl. ¶ 7,
 5
                 Dkt. #200, and Amazon is requesting that the Court permanently seal Exhibit B,
 6
                 (Dkt. #221 at 3).
 7
           4.    Plaintiffs are now filing another version of Exhibit B marked with proposed
 8
                 redactions in connection with Plaintiffs’ Reply Regarding Plaintiffs’ Motion to
 9
                 Seal and Plaintiffs’ Response to Amazon’s Motion to Seal.
10
           5.    Plaintiffs provided their redactions proposal to Amazon on May 22, 2024. In lieu
11
                 of initiating new motions practice on sealing, Amazon requests to file a sur-reply
12
                 addressing Plaintiffs’ proposal. Plaintiffs do not oppose Amazon’s request to file
13
                 a sur-reply.
14
           6.    The parties stipulate as follows, subject to Court approval, and jointly request that
15
                 the Court enter the following Order approving this Stipulation.
16
                 a.       The version of Exhibit B filed with the Declaration of Kara King in
17
                          Support of Plaintiffs’ Reply Regarding Plaintiffs’ Motion to Seal and
18
                          Plaintiffs’ Response to Amazon’s Motion to Seal is temporarily sealed,
19
                          pending the Court’s decision on Plaintiffs’ Motion to Seal (Dkt. # 199).
20
                 b.       Amazon may file a sur-reply addressing Plaintiffs’ redaction proposal for
21
                          Exhibit B by Friday, May 31, 2024.
22

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     DOCUMENTS RELATED TO SPOLIATION - 2
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11                                                   Attorneys for Plaintiff Federal Trade
                                                     Commission
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24   STIPULATED MOTION AND
     ORDER TO TEMPORARILY SEAL EXHIBIT B TO
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     DOCUMENTS RELATED TO SPOLIATION - 3
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     STIPULATED MOTION AND
     ORDER TO TEMPORARILY SEAL EXHIBIT B TO
     PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF
     DOCUMENTS RELATED TO SPOLIATION - 4
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     STIPULATED MOTION AND
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     DOCUMENTS RELATED TO SPOLIATION - 5
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     STIPULATED MOTION AND
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     DOCUMENTS RELATED TO SPOLIATION - 6
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24   STIPULATED MOTION AND
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24   STIPULATED MOTION AND
     ORDER TO TEMPORARILY SEAL EXHIBIT B TO
     PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF
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 1                                         ORDER

 2         IT IS SO ORDERED.

 3         DATED this 23rd day of May, 2024.

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 5                                                JOHN H. CHUN
                                                  UNITED STATES DISTRICT JUDGE
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24   STIPULATED MOTION AND
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     PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF
     DOCUMENTS RELATED TO SPOLIATION - 9
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